             Case 2:10-cr-00473-KJD-GWF           Document 54        Filed 07/20/11   Page 1 of 1

                                                                             tts.Dlsrnlc'rcoun'
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     6                            UNITED STATES DISTRICT CO URT
I    7                                    m serm c'
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!    8 UNITED STATESOFAM ERICA
1                                         ,            )
!                                                      )
     9                       Plaintiff,                )
    10         v.                                      )             2:10-CR-473-KJD (GW F)
                                                       )
    11 AM BER soutzrrE,                                )
i                                                      )
j   12                       Defendant.                )
:
    13                          FINAL O RDER OF FO RFEITURE AS TO
                                   D EFEN D AN T AM BER SO U LETTE
    14
    15         OnA pril19,2011,thisCourtentered aprelim inary O rderofForfeim repursuantto 18U nited

    16 StatesCode924,and28United StatesCodej2461(c)fodkitingpropertyofdefendantAM BER
    17 SOULETTE to theUnited StatesofAm erica. Docket//46;
    18         IT IS HEREBY ORDERED,ADJUDGED,AND DECREED pursuantto Fed. R .Crim .P

    19 32,2(b)(4)(A)and(B)thattheforfeitureofthepropertynamedinthePreliminaryorderofForfeiture
    20 istinalasto defendantAM BER SOULETTE.
                            àa 'A'G''
    21        DATEDthis            dayof J,
                                          ww  .
                                                                ,   20j
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